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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               OCALA DIVISION
CHERYL WEIMAR,
          Plaintiffs,

v.                                              CASE NO.: 5:19-cv-548-CEM-PRL

THE FLORIDA DEPARTMENT OF
CORRECTIONS, KEITH TURNER,
and RYAN DIONNE,
     Defendants.
________________________________/

                        PLAINTIFF’S MOTION TO COMPEL

          Plaintiff, Cheryl Weimar, by and through undersigned counsel, Pursuant to

Rule 37, Federal Rules of Civil Procedure, hereby files this Motion to Compel, and

states:

                                     Introduction

          The instant matter asserts claims against FDC and two of its employees, in

connection with Plaintiff’s requests for accommodations on August 21, 2019, for

several disabilities, and the Defendants’ violations of the ADA, RA, and Eighth

Amendment. Further, there are issues related to the care Plaintiff has been receiving,

for example, now Plaintiff has several bedsores on her back due to the injuries she

sustained from the Defendants and the care she is currently received from Defendant

FDC and its medical provider, Centurion. Under applicable law, the Defendants are

liable for the injuries the result from their conduct in this matter, as well as all
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foreseeable injuries or negligent acts of others that flow from the initial violations of

the Eighth Amendment and ADA and RA.

        Plaintiff has made several discovery requests to FDC, only to be delayed

production as to several requests, and FDC having asserted objections and refusals

to produce documents that are inapplicable, meritless, or should otherwise be

overruled by this Court. Indeed, in response to one request, FDC refuses to produce

1,500 emails related to the Plaintiff (likely her care) that were sent or received since

suffering a brutal attack at the hands of Defendants Turner and Dionne.1 Further,

FDC has refused to properly respond to interrogatories, declining to ask its own

employees listed in the responses what their specific knowledge is of the August 21,

2019, incident, and whether they are aware of any other witnesses, either employees

or inmates. This is objectively a failure to properly respond to discovery.

        FDC has also failed to produce documents it is agreed to produce in its

responses and conferrals, despite the requests being served on FDC approximately

seventy (70) days ago. This delay has prejudiced Plaintiff in selecting witnesses to

depose, as well as obtaining other facts that might be helpful and supportive to the

claims asserted in this matter, or, alternatively, helpful to avoiding the Defendants’

affirmative defenses.


1
  Based on some documents that FDC produced, it is clear that at least 10 other individuals may have violated
Plaintiff’s Eighth Amendment rights by applying force, or failing to temper the severity of the force used by others
that was applied in violation of the Eighth Amendment. To the extent this matter does not resolve prior to the early
mediation agreed to by the Parties, it is likely these individuals will also be added as Defendants.

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                                     Background

      Plaintiff served interrogatories to FDC on January December 2, 2019,

requesting the following:

   Interrogatory Number 4 (See attached Exhibit A):

   Identify all Persons who have knowledge concerning the injuries sustained by
   Cheryl Weimar on August 21, 2019, and a full and complete description of their
   knowledge of the August 21, 2019, events concerning Cheryl Weimar.

   FDC Response (See attached Exhibit B):

         FDC      responded     to   this       interrogatory   listing   sixteen   FDC

   employees/contractors (excluding Defendant Turner and Dionne), generally

   stating for essentially all of them, “…was assigned to duty on August 21, 2019,

   and may have knowledge of the allegations contained in the Complaint.” It was

   clear from the response that FDC did not attempt to interview or question these

   employees to determine what they knew, what they saw, or whether inmates were

   witnesses and present for any part of their interactions with Plaintiff on August

   21, 2019. This response is especially thin and deficient in that inmates have stated

   that they spoke to some of the witnesses listed by FDC during and immediately

   after the August 21, 2019, beating. See inmate statements attached hereto as

   composite Exhibit C. These witnesses state, amongst other things, that FDC

   Employee Esteban Baez jumped on Plaintiff and that FDC employee

   Benninghoff and others intentionally avoided tempering the severity of the

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    unjustified force, make clear that the knowledge listed for the FDC employee

    witnesses are deficient.

         During the conferral, FDC stated that it in fact did not interview or question

the witnesses it listed in its interrogatory responses to determine what their own

employees/contractors knew about the incident. Subsequently, FDC produced

incident reports 2 concerning what these employees wrote about the incident to FDC,

however, it is not clear whether this is all that they know, or whether they are aware

of any inmate witnesses. This places Plaintiff at a fundamental disadvantage in

identifying from FDC’s interrogatory responses which witnesses need to be deposed.

While not included as an objection in FDC’s response in Exhibit B, FDC later

stated that it did not and would not interview any of the employees/contractors listed

in its interrogatory response because the Florida Department of Law Enforcement is

conducting an investigation into the actions of Turner, Dionne, and others. 3 An

FDLE investigation cannot divest FDC of its duties and obligations under Rule 33,

Federal Rules.

         In seeking to avoid its discovery obligations because a different law

enforcement agency is investigating the facts surrounding Plaintiff’s near death



2
  These incident reports were not produced in response to the interrogatory requesting a list of witnesses and their
specific knowledge of the incident.
3
  Indeed, if charges are brought, it is highly probable that other employees listed by FDC in its interrogatory response
will also be charged with crimes related to their actions, inactions, or concerted efforts related to the unlawful beating
Plaintiff suffered on August 21, 2019, based at least in part on the sworn statements of inmate witnesses.

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beating and quadriplegia, FDC seeks an improper advantage by not having to

disclose relevant witnesses, what they know, or, in this case, not even attempting to

meet its obligations under Rule 33. FDC cites no case law for its proposition that it

does not have to comply with Rule 33 because of FDLE’s investigation.

        While not directly on point, In re Residential Doors Antitrust Litig., 900 F.

Supp. 749, 1995-2 Trade Cas. (CCH) P71136 (E.D. Pa. 1995), is instructive. In In

re Residential Doors, the Court was faced with the recipients of discovery who stated

that they would supplement their responses after it was clear that a criminal

investigation was over. Id. The court compelled production and answers to

discovery. Here, FDC’s answer is nearly identical: while FDLE is investigating,

FDC apparently has no intention of fully complying with its obligations under Rule

33. FDC’s refusal to comply with Rule 33 is nearly identical to Defendant’s Dionne

and Turner asserting the Fifth Amendment to discovery responses and questions at

their depositions: in other words, while FDC is not facing potential criminal liability

as it is not a person, refusing to comply with Rule 33 until the FDLE investigation

is over is akin to invoking Fifth Amendment, agreeing only to provide information

Plaintiff is entitled to under the Federal Rules after FDLE’s investigation is

complete.4 Wehling v. Columbia Broad. Sys., 608 F.2d 1084, 1087 (5th Cir. 1979).



4
  Even worse, the statutes cited by FDC would allow FDC to keep open an internal FDC criminal or administrative
investigation for several years to avoid having to produce documents or fully and completely respond to interrogatory
requests.

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Indeed, it would be unfair to permit FDC to proceed with asserting defenses and

otherwise contesting this lawsuit while also depriving Plaintiff of facts and

information necessary to fully prepare its prosecution of this case. See Id.

         Lastly, asking its own employees what they know, who was involved, and

whether there were any other witnesses does not patently appear to wrongfully

interfere with FDLE’s investigation. Certainly counsel for FDC can undertake the

inquiry of these witnesses so that discovery can be complete and can also do so

without interfering with FDLE’s investigation.5 There also isn’t any evidence to

suggest that FDC itself would be unable to interview the witnesses without

interfering or tainting FDLE’s investigation. Indeed, fulfilling its obligations under

the Federal Rules may in fact enable FDC to provide additional information to FDLE

that warrants charges for additional individuals. FDC does not state and Plaintiff

does not suggest that FDC would be attempting improperly interfere with FDLE’s

investigation simply by asking the employees it listed as having knowledge what

their specific knowledge is and who else may have been witnesses.

         Plaintiff seeks an order compelling FDC to properly respond to this basic and

routine interrogatory, listing the witnesses it knows of, as well specifying what

knowledge its employee witnesses have and whether they are aware of any other


5
  Gray Robinson, and specifically FDC counsel in this case, have an impeccable reputation. Undersigned counsel
proposes as a potential solution to FDC’s asserted concern (which Plaintiff disputes) that the inquiry be conducted by
FDC’s counsel who certainly would be immune to any accusation or criticism that interviewing FDC’s listed witnesses
interfered with FDLE’s investigation.

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witnesses, including specifically inmate witnesses. Alternatively, if the Court finds

that the responses are sufficient in light of FDLE’s investigation, Plaintiff requests

this Court clarify what these sixteen (16) witnesses are permitted to testify to in light

of FDC’s ability to not fully respond to the interrogatory based on the FDLE

investigation as it will cause extreme prejudice to Plaintiff. In other words, Plaintiff

seeks clarification as to whether these witnesses will be permitted to testify to

matters for which they were not properly/specifically disclosed to testify to

specifically, only generally, due to lack of notice.

      Plaintiff’s Requests to Produce

      Request Number 17 (See attached Exhibit D)

      All videos, including fixed wing video and handheld video, from Lowell CI,

Lowell Work Camp, and Lowell Annex, from 12:01am on August 21, 2019, through

11:59pm, August 21, 2019, which shows or depicts Cheryl Weimar.

      FDC Response (See attached Exhibit E)

      See response and objections to request number 16.

      Response to 16 - The Defendant objects to request number 16, which
      seeks all video, including fixed wing video and handheld video from
      three department facilities, from 12:01am through 1:59pm on August
      21, 2019. The requested videos include records, information,
      photographs, audio and visual presentations, schematic diagrams,
      surveys, recommendations or consultations or portions thereof relating
      directly to the physical security of an institution or revealing security
      systems of an institution and are confidential under §§ 119.071(3) and
      281.301, Florida Statutes (2019). The information may also be part of
      an active investigation and protected under § 119.071(2). The records
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      are also confidential under § 112.533(2)(a), Florida Statutes, as they
      involve an on-going investigation regarding law enforcement or
      correctional officers.

      The Defendant also objects on the basis of overbreadth, undue burden,
      and relevance. To the extent that the video is even available, the request
      would result in an entire day's worth of video from every fixed wing
      video source across three department of corrections facilities and likely
      result in hundreds of hours, if not weeks of video footage, all of which
      would need to be reviewed and processed by the Defendant. The burden
      of production substantially outweighs any benefit to the Plaintiff, as a
      majority of the footage would be unrelated to the allegations in the
      complaint and have no bearing on any party's claims or defenses.

      Plaintiff incorporates its response from above herein. First, Plaintiff agreed to

limit the scope of this request to 8am to 12pm on August 21, 2019. However, even

with the narrowed scope, FDC still refused to produce the responsive videos. These

videos were not created pursuant to any investigation, criminal or civil. As for the

fixed wing cameras, those cameras always record at the prison. Hand held cameras,

which were used after the main force on Plaintiff that made her unconscious and

likely broke her neck, were on from minutes after the initial force until she left the

prison, have also been withheld by FDC.

      FDC objects to production based on confidentiality, however, that objection

is moot because Plaintiff has signed a confidentiality agreement. See attached

Exhibit F. Second, FDC asserts that the responsive video, which does exist, “may

also be part of an active investigation…” To be clear, there is an investigation, but

Plaintiff does not seek these records from FDLE, which were obtained by FDLE


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from FDC in response to a lawful FDLE investigation. These records are not

protected by Rule 6(e), Federal Rules of Criminal Procedure, or any other similar

Florida Statute. In reality, Plaintiff suggests these records are being withheld because

they show what everyone expects they will show: that Plaintiff was savagely beaten

and then unconscious through the time the ambulance arrived at FDC while she was

being dragged around Lowell Work Camp and the Lowell Annex towards

confinement. These records (videos and audio) were created by FDC in the ordinary

course of business and cannot be said to have been created pursuant to a law

enforcement investigation, or for the purposes of a law enforcement investigation.

Plaintiff doesn’t seek to release the videos to the public as part of this request, she

merely seeks relevant evidence that will bear on the claims and defenses, and

evidence that likely films a time where she was unconscious due to the unlawful

beating she suffered by Defendant Dionne and Defendant Turner.

      All of the objections asserted by FDC only deal with confidentiality, which

has been addressed by FDC requiring Plaintiff’s counsel to sign a confidentiality

agreement. Thus, pursuant to that agreement, these records should have already been

produced. Plaintiff can only assume, with good measure due to what Plaintiff asserts

are non-meritorious objections, that the video corroborates the sworn statements of

several inmates who have signed sworn statements in this matter. See Supra at

Exhibit C.

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         But FDC’s effort in responding to this request, as others, is relevant to the

 weight this Court should give FDC’s arguments. For example, FDC’s response states

 “To the extent the video is even available…”, making clear, yet again, FDC didn’t

 even bother to fulfill its obligations under Rule 34 to determine whether video was

 available and, if so, how much was available. While the amount of time available

 and requested is now moot due to Plaintiff’s agreement to narrow the scope of the

 request, FDC’s answer is still enlightening as to the minimal effort FDC put forth in

 its deficient discovery responses.

         Plaintiff was likely caught on FDC fixed wing videos at the Lowell Work

 Camp, all the way through the time she was taken by van from the Lowell Work

 Camp next door to the Lowell Annex. This video will depict what happened to

 Plaintiff during this time period, as well as whether any of the FDC employees or

 witnesses have given truthful statements. Certainly the responsive video is likely to

 be lengthy, but it was FDC’s decision to take Plaintiff from one prison facility to an

 entire different facility. The fact that the videos will span several hours does not

 make them any less relevant and necessary to the prosecution and defense of this

 case.

         Thus, Plaintiff requests an order requiring FDC to produce all fixed wing

 video and hand held video from August 21, 2019, from 8am through 12pm.

         Request to Produce Number 19

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       All use of force incidents which mention or discuss Cheryl Weimar while she

 was in FDC custody.

       FDC Response

       RESPONSE: The Defendant will produce the report from an August
       25, 2017 incident involving the use of force against the Plaintiff.

       Currently excluded from the Defendant's response to request number
       19 are incident reports pertaining to the August 21, 2019 incident
       involving the Plaintiff. Those incident reports were included in a use of
       force packet that was sent to the Florida Department of Law
       Enforcement and are part of the FDLE's active investigation.
       Documents that are part of an active investigation are not subject to
       release, per § 119.071(2). See also§ 945.10. The records are also
       confidential under§ 112.533(2)(a), Florida Statutes, as they involve an
       on-going investigation regarding law enforcement or correctional
       officers.

       Beyond that the Defendant objects to request number 19 on the basis of
       relevance, overbreadth, undue burden, and proportionality. The request
       broadly seeks all use of force incidents which "mention or discuss" the
       Plaintiff during the time she was in FDC custody. By its terms, the
       request would include any number of incidents unrelated to the
       Plaintiff, where force was not used against the Plaintiff and she was just
       "mention[ ed] or discuss[ed] in the report." Obtaining these reports
       would involve a search of every use of force incident during the entirety
       of the Plaintiffs incarceration to determine whether they "mention" the
       Plaintiff. The incidents are unrelated to the allegations in the complaint
       and would have no bearing on any party's claims or defenses.

       Plaintiff reincorporates its response and argument for Request to Produce

 Number 17 herein. FDC states that it is withholding use of force packets related to

 the August 21, 2019, incident. FDC has produced the use of force reports, but only

 in a redacted form. For the reasons set forth above in response to Number 17,

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 Plaintiff requests FDC produce the use of force reports in an unredacted form. See

 Incident reports attached as composite Exhibit G.

       The redacted portions of the incident reports are simply whether superior

 officers or wardens approved of the use of force and the comments they added to the

 requests. FDC asserts that those reviews by senior FDC employees is part of an

 FDLE investigation, however, those comments and views of FDC supervisors are

 completed within the ordinary course of business for FDC and within the course and

 scope of the supervisor employees’ duties. The FDC supervisors do not complete

 these documents for the purposes of criminal investigations. They are simply

 completed as part of FDC internally determining whether the use of force complied

 with Federal and Florida law, as well as FDC rules, policies and procedures. Plaintiff

 is entitled to know what is contained in the redacted portions of the documents.

       Thus, Plaintiff requests an order requiring FDC to produce the documents in

 Exhibit G in an unredacted form.

       Request to Produce Number 22

       All FDC internal audio recordings on August 21, 2019, concerning the use of

 force on Cheryl Weimar.

       FDC Response

       RESPONSE: Currently excluded from the Defendant's response to
       request number 22 are records included in a use of force packet that was
       sent to the Florida Department of Law Enforcement and are part of the
       FDLE's active investigation. Documents that are part of an active
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       investigation are not subject to release, per § 119.071(2). The records
       are also confidential under § 112.533(2)(a), Florida Statutes, as they
       involve an on-going investigation regarding law enforcement or
       correctional officers.

       Plaintiff reincorporates its response and argument for Request to Produce

 Number 17 above herein. Further, to the extent there are audio recordings of internal

 radio calls and communications between FDC employees on August 21, 2019,

 before, during and after the incident concerning Plaintiff, those also should be

 produced for the reasons above.

       To the extent these audio recordings exist of internal FDC radio

 communications or videos that contain responsive audio, Plaintiff requests this Court

 enter an order requiring FDC to produce the responsive audio recordings.

       Requests to Produce Numbers 31 and 36

       31-All Communications between FDC employees concerning Cheryl Weimar

 from August 20, 2019, through the present date. Please include a privilege log for

 all documents for which you assert a privilege.

       RESPONSE: The Defendant objects to request number 31 on the basis
       of overbreadth, undue burden, and proportionality. The request broadly
       seeks all communications between FDC employees that merely
       "concem[s]" the Plaintiff. The Defendant is the third largest state prison
       system in the United States and has more than 24,000 full-time
       employees. There is no indication that the request communications
       would be relevant to the allegations of the complaint or relevant to any
       party's claims or defenses.




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         36-All Communications between FDC employees which do not include FDC

 attorneys, concerning Cheryl Weimar, from August 20, 2019, through the present

 date.

         RESPONSE: See Defendant's objections to request number 31.

         Response to 31 - The Defendant objects to request number 31 on the
         basis of overbreadth, undue burden, and proportionality. The request
         broadly seeks all communications between FDC employees that merely
         "concern[s]" the Plaintiff. The Defendant is the third largest state prison
         system in the United States and has more than 24,000 full-time
         employees. There is no indication that the request communications
         would be relevant to the allegations of the complaint or relevant to any
         party's claims or defenses.


         First, just like FDC’s other responses, FDC didn’t even bother in its initial

 response to determine how many, if any, responsive Communications and

 specifically emails, were sent or received during the requested time period

 concerning Cheryl Weimar to support its objection that the request was overly broad

 and unduly burdensome. Such a response is facially deficient, as FDC merely states

 boilerplate objections to again avoid having to produce discovery, without even

 determining if the requests is overbroad or causes undue burden. "Objections which

 state that a discovery request is 'vague, overly broad, or unduly burdensome' are, by

 themselves, meaningless, and are deemed without merit ...." Polycarpe v. Seterus,

 Inc., 2017 U.S. Dist. LEXIS 77808, at *4 (M.D. Fla. May 23, 2017) (citing Siddiq

 v. Saudi Arabian Airlines Corp., 2011 U.S. Dist. LEXIS 151474, at *3 (M.D. Fla.


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 Dec. 7, 2011)) (quoting Milinazzo v. State Farm Ins. Co., 247 F.R.D. 691, 695 (S.D.

 Fla. 2007)). Indeed, during conferral, Plaintiff pointed out FDC in fact had not even

 conducted a computer search for emails to determine if the request caused an undue

 burden. FDC counsel confirmed that a search had not been performed prior to

 asserting its boilerplate objections. FDC also asserted in its response that the request,

 for communications concerning Plaintiff since the day before she suffered an

 unlawful beating, would result in a return of documents irrelevant to the allegations

 of the complaint is meritless. However, yet again, FDC’s response establishes that

 FDC didn’t even bother to conduct a search to determine if responsive records were

 obtained in response to the search and whether they were wholly unrelated to the

 allegations in the complaint or the asserted defenses in this case. 6

          This request clearly seeks relevant documents. Plaintiff doesn’t seek

 communications concerning years prior to her August 21, 2019 beating 7, only those

 from the day prior to the day she was attacked through the date of the request. This

 request is likely to return documents which discuss her medical care, transfers, and

 may identify witnesses who have not been previously identified in FDC’s



 6
   Defendant Dionne has asserted affirmative defenses that include failure to mitigate damages, that Plaintiff has not
 suffered a physical injury, any inaction of Defendant didn’t cause the injuries, that Plaintiff caused or contributed to
 her own injuries, that Plaintiff lacks standing to bring her complaint, that Plaintiff has unclean hands, collateral source,
 amongst others. See ECF No. 47, pp. 6-8. It is overwhelmingly likely that the Communications sent about Plaintiff
 during this time period bear on these defenses.
 7
   They may ultimately be relevant as it relates to Plaintiff’s disability and to FDC’s knowledge of the disability, and,
 thus any communications about Plaintiff during the time of her current incarceration in 2016 may also be relevant
 although have not been requested yet.

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 Interrogatory responses. Communications concerning Plaintiff’s medical care is

 especially relevant and important because Plaintiff has recently developed bedsores.

 Plaintiff’s bedsores flow from her injuries because if she was able to move and not

 confined to a hospital bed, she certainly would not have developed any bedsores.

          After multiple conferrals, FDC agreed to do what it should have done before

 it responded, conduct a search for emails. Despite initially objecting because FDC

 “…has more than 24,000 full-time employees[,]” and such requested would be

 unduly burdensome and was overly broad, only 1,500 emails were determined to

 be responsive to the discovery request. 8 Based on FDC’s estimate of the number

 of its employees, the fact that only 1,500 responsive emails were returned shows that

 Plaintiff’s request was appropriately narrow. Further, to the extent the Court believes

 that the review of 1,500 emails is burdensome, which Plaintiff submits it is not, the

 number of emails justifies the request. Plaintiff is one inmate of approximately

 100,000 incarcerated inmates within FDC and was an otherwise un-notable inmate

 prior to her beating on August 21, 2019. While Plaintiff’s attack and subsequent

 injuries is one of the worst atrocities to a single inmate, with or without disabilities,

 within FDC by FDC employees in the history of the state agency, the fact that 1,500

 emails have been sent which mention her name, discuss her condition, or otherwise




 8
    While Plaintiff is appreciative of FDC’s decision during the conferral process to actually conduct the search, this
 is evidence that the objections were posed by design to delay and frustrate the discovery process.

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 mention Plaintiff, since the date of her injury, in and of itself suggests that the emails

 are “relevant to [Plaintiff’s] claim…and proportional to the needs of the case…” See

 Fed. R. Civ. P. 26(b)(1). Plaintiff, although an inmate, suffered a severe and

 unjustified beating that resulted in permanent quadriplegia. The issues at stake in the

 litigation are substantial, just like the amount in controversy in light of the fact that

 Plaintiff will need around the clock specialized care for the rest of her life. It is

 disingenuous for FDC to assert that it is unduly burdensome to review 1,500 emails

 when it has an agency of 24,000 employees. Indeed, Plaintiff’s medical records have

 or soon will exceed 1,500 pages. The personnel files FDC has agreed to produce for

 sixteen (16) of its employees may also exceed 1,500 pages.

       Whether FDC sent 10, 100, or 1500 emails concerning Plaintiff from the day

 before she was attacked through the date of the request, those Communications are

 relevant to Plaintiff’s claims as they likely discuss Plaintiff’s condition, treatment,

 transfers, conditional medical release, and identify potential witnesses, as an

 example, and will be relevant to Plaintiff’s attempt to overcome the defenses of

 Defendant Dionne and likely the defenses of Defendant Turner when he files an

 answer to the Second Amended Complaint.

       Thus, this Plaintiff requests this Court enter an order requiring FDC to

 produce all Communications responsive to the request, including an order requiring




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 FDC to produce specifically the 1,500 emails returned from the computer search

 FDC conducted only after it asserted its objections.

                                     Conclusion

       Plaintiff has demonstrated that Defendant FDC has wrongfully failed to

 provide complete answers to interrogatories, improperly withheld and improperly

 redacted responsive documents. Plaintiff requests an order compelling all responses

 and requested herein.

       WHEREFORE, Plaintiff requests an Order compelling production as

 requested herein.


                                        Respectfully submitted,

                                        ANDREWS LAW FIRM
                                        822 North Monroe Street
                                        Tallahassee, Florida 32303
                                        T: (850) 681-6416 / F: 681-6984

                                        /s/ Ryan J. Andrews___________________

                                        /s/ John M. Vernaglia
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                                        RYAN J. ANDREWS (FBN: 0104703)
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                                        service@andrewslaw.com
                                        Counsel for Plaintiff




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                      LOCAL RULE 3.01(g) CERTIFICATE

       Pursuant to Rule 3.01(g) of the Local Rules of the Middle District of Florida,

 the undersigned has conferred with counsel for Defendant Florida Department of

 Corrections in writing and by telephone on numerous occasions regarding this

 Motion to Compel, and reports that Defendant Florida Department of Corrections

 objects to the relief requested herein.



                                           /s/ Ryan J. Andrews
                                           RYAN J. ANDREWS




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                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has been

 served by electronic service on this 11th day of February, 2020, to:

        Thomas Gonzalez, Esq.                    Thomas R. Thompson, Esq.
        Nathan Paulich, Esq.                     Mallory R. Bennett, Esq.
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        Counsel for Defendant K. Dionne


                                        /s/ Ryan J. Andrews
                                        RYAN J. ANDREWS




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